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 6
 7
                                  UNITED STATES DISTRICT COURT
 8
                                 CENTRAL DISTRICT OF CALIFORNIA
 9
10                                                Case No.:
     JARDINE GOUGIS,
11                  Plaintiff,                    COMPLAINT FOR INJUNCTIVE
                                                  RELIEF AND DAMAGES FOR
12            vs.                                 VIOLATION OF:
13                                                1. AMERICANS WITH DISABILITIES
                                                  ACT, 42 U.S.C. §12131 et seq.;
14
     GLENOAKS-MAGNOLIA, LLC; and                  2. CALIFORNIA’S UNRUH CIVIL
15   DOES 1 to 10,                                RIGHTS ACT, CAL CIV. CODE §§ 51 -
                                                  52 et seq.;
16                  Defendants.
                                                  3. CALIFORNIA’S DISABLED
17                                                PERSONS ACT, CAL CIV. CODE §54 et
                                                  seq.
18
                                                  4. CALIFORNIA HEALTH & SAFETY
19                                                CODE § 19955, et seq.
20                                                5. NEGLIGENCE
21
22
23
24
25            Plaintiff JARDINE GOUGIS (“Plaintiff”) complains of GLENOAKS-

26   MAGNOLIA, LLC; and DOES 1 to 10 (“Defendants”) and alleges as follows:

27   //

28   //



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 1                                            PARTIES
 2           1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3   substantially limited in her ability to walk due to osteoarthritis on both hips. Plaintiff
 4   requires the use of a wheelchair at all times when traveling in public.
 5           2.   Defendants are, or were at the time of the incident, the real property owners,
 6   business operators, lessors and/or lessees of the real property for a foot spa (“Business”)
 7   located at or about 400 N. Glenoaks Blvd., Burbank, California.
 8           3.   The true names and capacities, whether individual, corporate, associate or
 9   otherwise of Defendant DOES 1 to 10, and each of them, are unknown to Plaintiff, who
10   therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of Court
11   to amend this Complaint when the true names and capacities have been ascertained.
12   Plaintiff is informed and believes and, based thereon, alleges that each such fictitiously
13   named Defendants are responsible in some manner, and therefore, liable to Plaintiff for
14   the acts herein alleged.
15           4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18   the things alleged herein was acting with the knowledge and consent of the other
19   Defendants and within the course and scope of such agency or employment relationship.
20           5.   Whenever and wherever reference is made in this Complaint to any act or
21   failure to act by a defendant or Defendants, such allegations and references shall also be
22   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23   and severally.
24                                JURISDICTION AND VENUE
25           6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27   seq.)
28




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 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). Defendants
 7   reside in this district, Orange County, California.
 8                                  FACTUAL ALLEGATIONS
 9         10.    In or about October of 2022, Plaintiff went to the Business.
10         11.    The Business is a foot spa business establishment, open to the public, and is
11   a place of public accommodation and affects commerce through its operation.
12         12.    While attempting to enter the Business during each visit, Plaintiff personally
13   encountered a number of barriers that interfered with her ability to use and enjoy the
14   goods, services, privileges, and accommodations offered at the Business.
15         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
16   included, but were not limited to, the following:
17                a.     Defendants failed to maintain the parking space designated for
18                       persons with disabilities to comply with the federal and state
19                       standards. Defendants failed to maintain the facility to be readily
20                       accessible as the entrance only had stairs.
21         14.    These barriers and conditions denied Plaintiff the full and equal access to the
22   Business and caused her difficulty and frustration. Plaintiff wishes to return and patronize
23   the Business, however, Plaintiff is deterred from visiting the Business because her
24   knowledge of these violations prevents her from returning until the barriers are removed.
25         15.    Based on the violations, Plaintiff alleges, on information and belief, that
26   there are additional barriers to accessibility at the Business after further site inspection.
27   Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
28   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).



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 1         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 2   knew that particular barriers render the Business inaccessible, violate state and federal
 3   law, and interfere with access for the physically disabled.
 4         17.    At all relevant times, Defendants had and still have control and dominion
 5   over the conditions at this location and had and still have the financial resources to
 6   remove these barriers without much difficulty or expenses to make the Business
 7   accessible to the physically disabled in compliance with ADDAG and Title 24
 8   regulations. Defendants have not removed such barriers and have not modified the
 9   Business to conform to accessibility regulations.
10                                   FIRST CAUSE OF ACTION
11       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
12         18.    Plaintiff incorporates by reference each of the allegations in all prior
13   paragraphs in this complaint.
14         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
15   shall be discriminated against on the basis of disability in the full and equal enjoyment of
16   the goods, services, facilities, privileges, advantages, or accommodations of any place of
17   public accommodation by any person who owns, leases, or leases to, or operates a place
18   of public accommodation. See 42 U.S.C. § 12182(a).
19         20.    Discrimination, inter alia, includes:
20                a.     A failure to make reasonable modification in policies, practices, or
21                       procedures, when such modifications are necessary to afford such
22                       goods, services, facilities, privileges, advantages, or accommodations
23                       to individuals with disabilities, unless the entity can demonstrate that
24                       making such modifications would fundamentally alter the nature of
25                       such goods, services, facilities, privileges, advantages, or
26                       accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
27                b.     A failure to take such steps as may be necessary to ensure that no
28                       individual with a disability is excluded, denied services, segregated or



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 1                       otherwise treated differently than other individuals because of the
 2                       absence of auxiliary aids and services, unless the entity can
 3                       demonstrate that taking such steps would fundamentally alter the
 4                       nature of the good, service, facility, privilege, advantage, or
 5                       accommodation being offered or would result in an undue burden. 42
 6                       U.S.C. § 12182(b)(2)(A)(iii).
 7                c.     A failure to remove architectural barriers, and communication barriers
 8                       that are structural in nature, in existing facilities, and transportation
 9                       barriers in existing vehicles and rail passenger cars used by an
10                       establishment for transporting individuals (not including barriers that
11                       can only be removed through the retrofitting of vehicles or rail
12                       passenger cars by the installation of a hydraulic or other lift), where
13                       such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
14                d.     A failure to make alterations in such a manner that, to the maximum
15                       extent feasible, the altered portions of the facility are readily
16                       accessible to and usable by individuals with disabilities, including
17                       individuals who use wheelchairs or to ensure that, to the maximum
18                       extent feasible, the path of travel to the altered area and the
19                       bathrooms, telephones, and drinking fountains serving the altered
20                       area, are readily accessible to and usable by individuals with
21                       disabilities where such alterations to the path or travel or the
22                       bathrooms, telephones, and drinking fountains serving the altered
23                       area are not disproportionate to the overall alterations in terms of cost
24                       and scope. 42 U.S.C. § 12183(a)(2).
25         21.    Where parking spaces are provided, accessible parking spaces shall be
26   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
27   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
28   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA



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 1   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
 2   be van parking space. 2010 ADA Standards § 208.2.4.
 3         22.    At least one accessible route shall connect accessible building, facilities,
 4   elements, and spaces that are on the same site. 1991 ADA Standards § 4.3.2. A public
 5   accommodation shall maintain in operable working condition those features of facilities
 6   and equipment that are required to be readily accessible to and usable by persons with
 7   disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 8         23.    Here, Defendants failed to provide at least one accessible entrance to the
 9   Business as the entrance only had stairs.
10         24.    A public accommodation shall maintain in operable working condition those
11   features of facilities and equipment that are required to be readily accessible to and usable
12   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
13   maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
14   violation of Plaintiff’s rights under the ADA and its related regulations.
15         25.    The Business has denied and continues to deny full and equal access to
16   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
17   discriminated against due to the lack of accessible facilities, and therefore, seeks
18   injunctive relief to alter facilities to make such facilities readily accessible to and usable
19   by individuals with disabilities.
20                                SECOND CAUSE OF ACTION
21                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
22         26.    Plaintiff incorporates by reference each of the allegations in all prior
23   paragraphs in this complaint.
24         27.    California Civil Code § 51 states, “All persons within the jurisdiction of this
25   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
26   national origin, disability, medical condition, genetic information, marital status, sexual
27   orientation, citizenship, primary language, or immigration status are entitled to the full
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 1   and equal accommodations, advantages, facilities, privileges, or services in all business
 2   establishments of every kind whatsoever.”
 3         28.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 4   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 5   for each and every offense for the actual damages, and any amount that may be
 6   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 7   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 8   attorney’s fees that may be determined by the court in addition thereto, suffered by any
 9   person denied the rights provided in Section 51, 51.5, or 51.6.
10         29.    California Civil Code § 51(f) specifies, “a violation of the right of any
11   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
12   shall also constitute a violation of this section.”
13         30.    The actions and omissions of Defendants alleged herein constitute a denial
14   of full and equal accommodation, advantages, facilities, privileges, or services by
15   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
16   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
17   51 and 52.
18         31.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
19   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
20   damages as specified in California Civil Code §55.56(a)-(c).
21                                  THIRD CAUSE OF ACTION
22                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
23         32.    Plaintiff incorporates by reference each of the allegations in all prior
24   paragraphs in this complaint.
25         33.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
26   entitled to full and equal access, as other members of the general public, to
27   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
28   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,



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 1   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
 2   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
 3   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 4   places of public accommodations, amusement, or resort, and other places in which the
 5   general public is invited, subject only to the conditions and limitations established by
 6   law, or state or federal regulation, and applicable alike to all persons.
 7            34.   California Civil Code § 54.3(a) states, “Any person or persons, firm or
 8   corporation who denies or interferes with admittance to or enjoyment of public facilities
 9   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
10   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
11   the actual damages, and any amount as may be determined by a jury, or a court sitting
12   without a jury, up to a maximum of three times the amount of actual damages but in no
13   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
14   determined by the court in addition thereto, suffered by any person denied the rights
15   provided in Section 54, 54.1, and 54.2.
16            35.   California Civil Code § 54(d) specifies, “a violation of the right of an
17   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
18   constitute a violation of this section, and nothing in this section shall be construed to limit
19   the access of any person in violation of that act.
20            36.   The actions and omissions of Defendants alleged herein constitute a denial
21   of full and equal accommodation, advantages, and facilities by physically disabled
22   persons within the meaning of California Civil Code § 54. Defendants have
23   discriminated against Plaintiff in violation of California Civil Code § 54.
24            37.   The violations of the California Disabled Persons Act caused Plaintiff to
25   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
26   statutory damages as specified in California Civil Code §55.56(a)-(c).
27   //
28   //



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 1                                FOURTH CAUSE OF ACTION
 2                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
 3         38.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5         39.    Plaintiff and other similar physically disabled persons who require the use of
 6   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
 7   such facility is in compliance with the provisions of California Health & Safety Code §
 8   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 9   provisions of California Health & Safety Code § 19955 et seq.
10         40.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
11   that public accommodations or facilities constructed in this state with private funds
12   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
13   Title 1 of the Government Code. The code relating to such public accommodations also
14   require that “when sanitary facilities are made available for the public, clients, or
15   employees in these stations, centers, or buildings, they shall be made available for
16   persons with disabilities.
17         41.    Title II of the ADA holds as a “general rule” that no individual shall be
18   discriminated against on the basis of disability in the full and equal enjoyment of goods
19   (or use), services, facilities, privileges, and accommodations offered by any person who
20   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
21   Further, each and every violation of the ADA also constitutes a separate and distinct
22   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
23   award of damages and injunctive relief pursuant to California law, including but not
24   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
25                                   FIFTH CAUSE OF ACTION
26                                         NEGLIGENCE
27         42.    Plaintiff incorporates by reference each of the allegations in all prior
28   paragraphs in this complaint.



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 1          43.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 2   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
 3   to the Plaintiff.
 4          44.    Defendants breached their duty of care by violating the provisions of ADA,
 5   Unruh Civil Rights Act and California Disabled Persons Act.
 6          45.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 7   has suffered damages.
 8                                    PRAYER FOR RELIEF
 9          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
10   Defendants as follows:
11          1.     For preliminary and permanent injunction directing Defendants to comply
12   with the Americans with Disability Act and the Unruh Civil Rights Act;
13          2.     Award of all appropriate damages, including but not limited to statutory
14   damages, general damages and treble damages in amounts, according to proof;
15          3.     Award of all reasonable restitution for Defendants’ unfair competition
16   practices;
17          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
18   action;
19          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
20          6.     Such other and further relief as the Court deems just and proper.
21   //
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                                           COMPLAINT - 10
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 1                              DEMAND FOR TRIAL BY JURY
 2         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 3   demands a trial by jury on all issues so triable.
 4
 5   Dated: January 12, 2023                 SO. CAL. EQUAL ACCESS GROUP
 6
 7
 8                                           By:    _/s/ Jason J. Kim________
                                                    Jason J. Kim, Esq.
 9                                                  Attorneys for Plaintiff
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